                                      Helena
                  Case 6:18-cv-00064-BMM-JTJ Document 1 FiledDIVISION
                                                              05/14/18 Page 1 of 10
                                         (You must fill in this blank. See Instruction F)


                 KirkW. Eakin
                 Cathleen L. Bonitz-Eakin
        (Write the full name ofeach plaintiff who is filing this
        complaint Each named plaintiff must S(!;n the
        complaint.)

                                  Plaintiff,
        -against-
         Michelle Silverthorne, in her individual capacity
        -·· -~                     •••••-••••-    --- -~ ...A...   ~ -. A - --•·•




        _Donald Ferriter, in his individual capacity
         Mark Laramore, in his individual capacity                                  Jury Trial Demanded: !_Yes o No
        Kristal Schraufnagel, in her individual capacity                                                  (check one)
         SEE ATTACHED                                                                 ount 1: Violation of Federal Civil Rights
                                                                                     42USC1983)
        (Write the fall name(s) of each defendant who is being
                                                                                      ount 2: Violation of Federal & State Civil
        sued. Jf the names ofall the defendants cannot fit in                                 Rights
        the space above, please w1ite "see attached" in the
        space and attach an additional page with the fi.1..ll list                    ount 3: Intentional Infliction of
                                                                                              Emotional Distress
        ofnames. The names listed in the above caption must
        be identical to those contained in Section If Do not                          ount 4: Abuse of Process
        include addresses here and do not use et al.)                                 ount 5: Invasion of Privacy
                                  Defendants.                                                 Declaratory Relief
                                                                                              Ne · ence
                                                  NOTICE
 Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public
· access to electronic court files. Under this rule>papers filed with the court should not contain: an
 individual's full social security number or full birth date; the fuH name of a person known to he a minor;
 or a complete financial account number. A filing may include only: the last four digits of a social security
 number; the year of an individual's birth; a minor's initials; and the fast four digits of a financial account
 number.

 Plaintiff need not send cxhibi~ affidavits, grievance <Yr witness statements, or any other materials to the
 Clerk's Office with this complaint.

 In order for your complaint to be filed, it must be accompanied by the filing fee or an application to

       Pro Se Non-Prisoner Complaint Form                                                              (Revised April 2016)
       Plaintiffs Last Name _£_akin_·- - - - - - - - - -                                                       Page 1 of8
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Continue list of Defendants:

Lewis & Clark County Sheriff Department

Craig Struble, in his individual capacity

Cory Olson, in his individual capacity

Kathy Seeley, in her individual capacity

Andrew Breuner, in his individual capacity

Brady Minow Smith, in her individual capacity

Traci Shinaberger, in her individual capacity

Dr. Robert Page, in his individual capacity

Christine Munsey, in her individual capacity

Pamela Young, in her individual capacity

Jamie Rodriguez, in her individual capacity

Michael Russell, in his individual capacity

Sally Ann Mulcahy, in her individual capacity

and DOES 1 through 50, inclusive.
       Case 6:18-cv-00064-BMM-JTJ Document 1 Filed 05/14/18 Page 3 of 10




                                         INSTRUCTIONS

 L      Use this fom1 to file a civil complaint with the United States District Court for the
        District of Montana. Include only counts/causes of action and facts - not legal arguments
        or citations. You may attach additional pages where necessary. Your complaint must be
        typed or legibly handwritten in ink and on white paper. \Vrite on only one side of the
        paper. Do not use highlighters and do not staple or othen.vise hind your papers. All
        pleadings and other papers submitted for filing must be on 8 Yi!' :x 11 ''paper (letter size).
        You must sign the complaint (see page 8). Your signature need not be notarized but it
        must be an original and not a copy. The Clerk's Office cannot provide you copies of
        documents in your file without prepayment of $0.10 per page (for documents
        electronicaUy available) or $050 (for documents not electronically available). Please
        keep a copy of the documents you send to the Court.

2.      The filing fee for a complaint is $350.00 plus a $50.00 administrative fee for a total of
        $400.00. This amount is set by Congress and cannot be changed by the Court. If you pay
        the filing fee, you will be responsible for serving the complaint on each defendant and
        any costs associated with such service.

3.      If you are unable to prepay the entire filing fee and service costs for this action, you may
        file a motion to proceed in forma pauperis.

4.      Complaints submitted by persons proceeding in fom1a pauperis must be reviewed by the
        Court before defendants are required to artswer. See 28 U.S.C. § 1915(e)(2). The Court
        Vitili dismiss your complaint before it is served on defendants if: (1) your allegation of

        poverty :is untme; (2) the action is frivolous or malicious; (3) your complaint does not
        state a claim upon which relief may be granted; or (4) you sue a defendant for money
        damages and that defendant is immune from liability for money damages. After the
        Court completes the review process, you will receive an Order explaining the findings
        and any further action you may or must take. The review process may take a few months;
        each case receives the judge's individual attention. Plaintiffs should. not serve
        defendants, pursue discovery, or request entry of default judgment prior to the completion
        of this review process.

5.     The case captio11 (page 1 of this form) must indicate the proper Division for filing. The
       proper Division is where the alleged wrong(s) occurred. When you have completed your
       complaint, mail the original of your complaint and either the fuU filing fee or your
       motion to proceed in fo:rma pauperis to th.e proper Division:

Billings Division:     Big Hom, Carbon, Garter, Custer, Dawson, rallon, Gar:field, Golden

Pro Se Non-Prisoner Complaint Form                                             (Revised April 2016)
Plaintiff's Last Name _E_a_ld_·n_ __                                                   Page2 of8
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                          Valley, lvfcCone, lvfusselshell, Park, Petroleum, Powder River, Prairie,
                          Richland, Rosebud, Stillwater, Sweetgrass, Treasure, 'PVheatland, Wibaux,
                          and Yellowstone Counties
     U.S. District Court Clerk, 601 2nd Avenue North, Suite 1200, Billings, MT 59101

Butte Division:           Beaverhead, Deer Lodge, Gallatin, Madison, and Silver Bow Counties
                      U.S. District Court Clerk, 400 N. Main, Butte, MT 59701

Great Falls Division: Blaine. Cascade, C.'houteau, Daniels, Fergus, Glacier, Hill, Judith Basin,
                      Liberty, Phillips, Pondera, Roosevelt, Sheridan, Teton, Toole, and Valley
                          Counties
            U.S~   District Court Clerk, 125 Central Ave. West, Great }alls, l\-IT 59404

Helena Division:       Broadv»ater, Jefferson, Lewis & Clark, Meagher, and Powell Counties
             U.S. District Court Clerk, 901 Fmnt St., Ste 2100, Helen~ MT 59626

Missoula Division;        Flathead, Granite, Lake, Lincoln, lvfineral, Missoula, Rav'Cllli, and Sanders
                          Counties
                   U.S. District Court Clerk, P.O. Box 8537, Missoula, MT 5.9807

I.     Parties to this Complaint
       A.     Plaintiff

                   Provide the information below for each plaintiff named in the complaint. Attach
                   additional pages if needed.
                                                KirkWEakin
                          Name
                          Street Address        2598 Shaman Drive
                                                - - - - - - - - - - -- - - ---··-·······-·-··-
                          City and County         Helena, Lewis and Clark

                          State and Zip Code     Montana 59601

                          Telephone Number        406-442-5186

                          E-mail Address          keakin@rnt.net


       B.          Defendant(s)

                          Provide the infonnation below for each defendant named in the complaint,
                          whether the defendant is an individual, a government agency, an
                          organization, or a corporation. Make sure that the defondant(s) listed
                          below are identical to those contained in the above caption. For an


Pro Se Non-Prisoner Complaint Form                                               (Revised April 2016)
PlaintiJrs Last Name _E_a_k_in_ _ _ --~·                                                Page3 of8
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                   individual defondant, indude the person's job or title (if known) and check
                   whether you are bringing this complaint against them in their individual
                    capacity or official capacity, or both.
       DefendantNo. 1:
                                    Lewis and Clark County Sheriff Dept.
             Name
              Job or Title            ------------~--- (ifkuown)
              Street Address           228 Broadway
              City and County          Helena, Lewis and dark
              State and Zip Code       Montana, 59601

              Telephone Number         406-447-822 l
              E-mail Address          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (if.known)

                     o    Individual capacity             x     Official capacity


       Defendant No. 2:
              Name                    Michelle Silverthorne

              Job   or Title          _c_h_il_d_Pr_·_ot_e_ct_io_n_Sp_e_c_ia_li_s_t--~----(if known)
              Street Address           20249thAve
              City and County          Helena, Lewis and Clark
              State and Zip Code       Montana, 59601

              Telephone Number         406-444-2030
              E-mail Address           ms_ilv_e_r_tl_1o_rn_e.=@_m_t~.g::....o_v_ _ _ _._ _ _ _ _ (if kno'\vn)
                                      __

                    -X   Individual capacity
                                      .
                                                           o    Official capacity


       DefendantNo. 3:
             Name                      Donald Ferriter

              Job or Title             Child Protection Specialist Supervisor                   (if known)
              Street Address           2024 9th Ave
                                      ~~~~~~~~-~-~~~----




             City and County           Helena, Lewis and Clark
              StateandZipCode         _M_on_t_an
                                              _ a_S9_6_0_1_ _ _ _ _ _ __ _ _ __
             Telephone Number           406-444-2030
             E-mail Address                     _ _ _ _ _ _ _ _ _ _ _ _ _ (ifknown)
                 l _ Individual capacity                   o    Official capacity

Pro Se Non-Prisoner Complaint Form                                                  (Revised April 2016)
Plaintiffs Last Name __._Eakin
                         __. - - - - - - - --        -   - ·                               Page4of8
      Case 6:18-cv-00064-BMM-JTJ Document 1 Filed 05/14/18 Page 6 of 10




       Defondant No. 4:
                                       Mark Laramore
               Name
               Job or Title             Chief of Centralized Intake

               Street Ad.dress         2024 9th Avenue

               City and County         Helena, Lewis and Clark

               State and Zip Code      Montana, 59601
               Telephone Number        406-444-2030
                                       ~--------~~~-~~~~-~


               E-mail Address          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (ifknown)
                   ~     Individual capacity              o    Official capacity
  (NOTE: If more space is needed to furnish the above information, continue on a blank sheet
                              labeled "APPENDIX A: PARTJES").

UM     .Basis fo.r Jurisdiction
           Check the option that best describes the basis for jurisdiction in your case:
                Federal Question: Claims arising under the Constitution? laws, or treaties .ofthe
               United States. This includes claims brought under 42 U.S.C. § 1983 against state
               or local officials for the «deprivation of any rights. privileges, or immunities
                secured by the Constitution and [federal laws]."

       0       U.S. Government Defendant: United States or a federal official or agency is a
               defendant. Th.is includes c1aims brought against federal employees under Bivens
               v. Six Unknown Named Agents of Fed. Bureau ofl'larcotics, 403 U.S. 388 (1971)

               Diversity of Citizenship: A matter between individual or corporate citizens of
               different states and the amount in controversy exceeds $75,000.

ID.    Venue
               This court can hear cases arising out of the District of Montana. Under 28 U.S.C
               § 1391, this is the right court to file your lawsuit if: (1) All defendants live in this
               state AND at least one of the defendants Jives in this district; OR (2) A substantial
               part of the events you are suing a.bout happened in this district; OR (3) A
               substantial part of the property that you are suing about is located in this district;
               OR (4) You are suing the U.S. government or a federal agency or official fo. their
               official capacities and you live in this district.




Pro Se Non-Prisoner Complaint Form                                              (RevisedApril 2016)
Plaintiff's LastName _E_a_ki_·n_ _ _ _ _ _ _ _ _ _ _ __                                Page 5 af8
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IV.    Statement of Claim(s)
       State as briefly as possible the facts of your case. Describe how each defondant was
       personally involved in the alleged wrongful action, along with the dates and locations of
       all relevant events. You may 'W'ish to include further details such as the names of other
       persons involved in the events giving rise to your claims. Do not cite any cases or
       statutes. If more than one claim is asserted, number each claim and write a short and
       plain statement of e-ach claim in a separate paragraph.

       A.     Count l: CLAIM 1
              1.




              2.
                      occur?
                      December 16, 2013 to present



              3.     Supporting Facts: (Include aU facts you consider important, including
                     names of persons involved, places, and dates. Describe what happened
                     without citin le al ar   ents. cases . or statutes .
                        ichelle Silverthorne contacted Plaintiff (CRE) in Pennsylvania before a Christma
                       acation in Montana. CBE gave Silverthorne the name of a counselor and police
                       fficer to clarify/resolve situation. After she spoke with both individuals.
                       ilverthorne informed CBE that is was okay to proceed with her trip.   Silverthornl
                       poke with both of Plaintiffs daughters {HE ana AE) days before the Montana
                       acation. Silverthorne asked AE if she could come to the office when she was in
                       own. Silverthorne entrapped Plaintiff into bringing her daughters to Montan.a (a
                       er Silverthorne notes) and she unlawfully removed them from CBE's care.
                        elena Sheriff Department along with CPS were at the airport and SEE ATIACHE
              4.     Defendants Involved: {List the name of each defendant involved in
                     this claim and specifically desc.ribe what each defendant did or did
                     not do to allegedly cause your injury).
                      SEE ATTACHED




 (NOTE: For each additional claim, use a blank sheet labeled <•APPENDIX B. STATEMENT
    OF CLAIMS." You must address paragraphs IV(A)(l-4) for each count., following the
                                   diret«tions under :rv.
Pro Se Non-Prisoner Complaint Form                                          (Revised April 2016)
Plaintiff's Last Name _E_a_kin
                           ....
                            ·-  ·. - - - · - - - - - - - - -                       Page 6of8
      Case 6:18-cv-00064-BMM-JTJ Document 1 Filed 05/14/18 Page 8 of 10




V.     Injuries
       If you sustained injuries related to the events alleged above, describe your injuries and
       state what medical treatment, if any, you required and did or did not receive. (Do not cite
       Iegal arguments, cases, or statutes). Attach additional pages if needed.
        laintiffs and famil_y members- familial liberty interests violated, have suffered, and
         · continue to suffer, physical and/or mental anxiety/anguish and emotional injury,
        11 to an extent and in an amount subject to proof at trial. Plaintiffs have also incurred,
        nd will continue to incur, attorney fees, costs and expenses, to an extent an in an
        mount subject to proof at trial. Plaintiffs have been alienated from HE, entrapped
        nd, denied reunification. Plaintiffs son is deceased due to the destruction of the
        amily unit by the involvement of CPS.




  (NOTE: If more space is needed to furnish the above infom1ation, continue on a blank sheet
                              labeled ~'APPENDIX C: INJURY'}

Vl.    Relief
       State briefly what you want the court to do for you. Make no legal arguments. Do not cite
       any cases or statutes. If requesting money damages, include the amounts of any actual
       damages and/or punitive damages claimed for the acts alleged. Explain the basis for
       these claims .
         . General damages and special damages according to proof, .but in no event less than
           $1,000,000;
         . As against only the individual defendants and not any municipality, punitive
           damages as allowed by law;
         . Attorney fees;
       ~- Injunctive relief, both preliminary and permanent, as allowed by 1.aw, (including
       ' reliminary injunctive relief to he based upon a separate application);
         . Cost of suit mcurred herein:
         . Compensation for bills accumulated to date: $36,241.01; and
         . Suen further relief as the Court deems just and proper.
        he events which took place from Dec 16, 2013 to the present has caused, and "Will
        ontinue to cause, great and irreparable injury to Plaintiffs and others in the family
        orever. Our son is dead as a resi.llt of CPS's involvement in our family. One
        aughter has been taken from our family for over 4 years. Not sure how one is
        ornpensated for loss family members. How does one put a price tag on
         andparents, Aunts, Uncles, cousins not seeing their relatives? The family unit has
        een .broken down by CPS and the system. Our family will never be the same as it
         as before that dreaaed night in Helena, Montana. SEE AITACHED
  (NOTE: ff more space is needed to furnish the above information, continue on a blank sheet
                     labeled "APPENDIX D: REQUEST FOR RELIEF").
Pro Se Non-P1iso1ier ComDlaint Fonn                             (Revised April 2016)
Plaintiffs Last Name Eakin                                             Page 7of8
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VII.   Plaintiff's Declaration

       A.       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
                of my knowledge, information, and belief that this complaint: (1) is not being
                presented for an improper purpose, such as to harass, cause unnecessary delay, or
                needlessly increase the cost oflitigation; (2) is supported by existing law or by a
                nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
                factual contentions have evidentiary support or, if specifically so identified, will
                likely have evidentiary support after a reasonable opportunity for further
                investigation or discovery; and (4) the complaint otherwise complies with the
                requirements of Rule 11.

       B.       I understand I must keep the Court informed of my current mailing address and
                my failure to do so may result in dismissal of this Complaint without notice to me.

       C.       I understand the Federal Rules of Civil Procedure prohibit litigants filing civil
                complaints from using certain information in documents submitted to the Court.
                In order to comply with these rules, I understand that:
                •      social security numbers, taxpayer identification numbers, and financial
                       account numbers must include only the last four digits (e.g. xxx-xx-5271 ,
                       xx-xxx5271, xxxxxxxx3567);
                •      birth dates must include the year of birth only (e.g. xx/xx/2001); and
                •      names of persons under the age of 18 must include initials only (e.g. L.K.).
                If my documents (including exhibits) contain any of the above listed information,
                I understand it is my responsibility to black that information out before sending
                those documents to the Court.
            I understand I am responsible for protecting the privacy of this information.

       D.      I understand the submission of a false statement or answer to any question in this
               complaint may subject me to penalties for perjury. I declare under penalty of
               perjury that I am the Plaintiff in this action, I have read this complaint, and the
               information I set forth herein is true and correct. 28 U.S.C. §1746; 18 U.S.C.
               §1621.
                     25:98 J/~ -;);L.
       Executed at   fle-lµfl 1 Pfl '>Uo/ on              ~         7          , 20~.
                             (Location)                        f{Date)

               Signature of Plaintiff:   _;2:2
                                          r-~"'~~l/:~·'-_U;_,
                                                          .__:..._·________
               Printed Name of Plaintiff:   &L           f,J., {iy/:fJ
Pro Se Non-Prisoner Complaint Fonn                                            (Revised April 2016)
Plaintiffs Last Name Eakin
                      ~~~~~~~~~~~~~~~
                                                                                     Page8of8
       Case 6:18-cv-00064-BMM-JTJ Document 1 Filed 05/14/18 Page 10 of 10




VII.    Plaintiff's Declaration

        A.       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best
                 of my knowledge, information, and belief that this complaint: (1) is not being
                 presented for an improper purpose, such as to harass, cause unnecessary delay, or
                 needlessly increase the cost of litigation; (2) is supported by existing law or by a
                 nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
                 factual contentions have evidentiary support or, if specifically so identified, will
                 likely have evidentiary support after a reasonable opportunity for further
                 investigation or discovery; and (4) the complaint otherwise complies with the
                 requirements of Rule 11.

        B.       I understand I must keep the Court informed of my current mailing address and
                 my failure to do so may result in dismissal of this Complaint without notice to me.

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                 complaints from using certain information in documents submitted to the Court.
                 In order to comply with these rules, I understand that:
                 •      social security numbers, taxpayer identification numbers, and financial
                        account numbers must include only the last four digits (e.g. xxx-xx-5271,
                        xx-xxx5271, xxxxxxxx3567);
                 •      birth dates must include the year of birth only (e.g. xx/xx/2001); and
                 •      names of persons under the age of 18 must include initials only (e.g. L.K.).
                 If my documents (including exhibits) contain any of the above listed information,
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                 those documents to the Court.
             I understand lam responsible for protecting the privacy of this information.

        D.      I understand the submission of a false statement or answer to any question in this
                complaint may subject me to penalties for perjury. I declare under penalty of           l
                perjury that I am the Plaintiff in this action, I have read this complaint, and the
                information I set forth herein is true and correct. 28 U.S.C. § 1746; 18 U.S.C.

                 §1623  Lf {_p y -rt/nci/~ /( d()JY(
       Executed at    Ca>rrf /H// / !4nol{ on m ~                       (         ,20   If.
                              (Location)                              te)

                 Signature of Plaintiff:   {7~ 2f ~-/Jkv
                Printed Name of Plaintiff:   {!afhle~n l :~U"YLi h- £ak,'n
Pro Se Non-Prisoner Complaint Form                                               (Revised April 2016)
Plaintiff's Last Name Eakin
                         ~~~~~~~~~~~~~~~-
                                                                                        Page8of8
